Case 4:16-cv-00564-CVE-tlw Document 25 Filed in USDC ND/OK on 10/28/16 Page 1 of 1




                              UNITED STATES DISTRICT COURT
                                   NORTHERN DISTRICT OF OKLAHOMA

  SAMMI HIGGINS,
                                        Plaintiff(s),

  vs.                                                       Case Number: 16-CV-564-CVE-TLW
                                                            State Court Case No. CJ-14-00290
  TAYLOR SIERRA PHILLIPS, et al,
                              Defendant(s).

                                              MINUTE ORDER

            An order having been made remanding the above-numbered case to the Rogers County Court. We
  are transmitting herewith certified copies of the order and District Court docket sheet in the action.




                                                        Mark C. McCartt,
                                                        Clerk of Court, United States District Court

                                                            s/S. Cotner

                                                        By: S. Cotner, Deputy Clerk




  Minute Order Transfer/Reassign                                                                    CV-02c (9/07)
